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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,
                                           Criminal No. 23-1019 (MEF)
      v.
                                                        ORDER
MYRON WILLIAMS, et al.,

            Defendants.


[1] Motions to suppress evidence shall be filed on or before
May 29.

The United States shall file a very brief letter on or before
June 4 indicating as to each motion whether it will be (1)
filing an opposition or (2) consenting to an evidentiary
hearing. Scheduling of briefing and/or hearing(s) will then
take place from there.

[2] All other pre-trial motions (other than motions in limine)
shall be filed on or before June 12.

Responses from the United States or from the Defendants, as the
case may be, shall be filed on or before July 24.

Replies, if any, shall be filed on or before July 31.

[3] The schedule set out above is subject to the discussion in
Court today, as to the possible need for defense lawyers to file
motions after the above deadlines.

[4] The United States shall file the letter it described today
in Court on or before May 8.

[5] The United States shall file a short letter on or before May
8 indicating when it will disclose the identities of all hybrid
fact/expert witnesses, and what else will be part of such
disclosure (such as, for example, early production of relevant
Jencks Act material).

[6] The United States shall file a short letter on or before May
8 indicating when it intends to produce Jencks Act materials.
Based on that date, a motion in limine schedule will be
established.

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[7] The Court will provide legal instructions to the jury before
summations.   The United States shall file on September 27 the
parties’ joint request to charge the jury. The United States
shall also file on September 27 a brief list of the jury charges
as to which there is not full agreement between the parties.


IT IS on this 16th day of April, 2024, so ORDERED.



                                         _____________________________
                                         Michael E. Farbiarz, U.S.D.J.




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